              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:11cv297

WHY DRIVE 55, INC.,                 )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )                            ORDER
                                    )
BONNIE DUNCAN, et al.,              )
                                    )
     Defendants.                    )
___________________________________ )

      Pending before the Court is the Motion to Withdraw as Attorney [# 113].

Counsel for Plaintiff moves to withdraw as counsel. The Local Rules require that

an attorney either submit the written consent of the client to withdraw or that the

attorney show good cause for withdrawing. LCvR 83.1(F). In addition, the

attorney must include the last known address of the client. Id. Here, counsel has

failed to include the last known address of his client. In addition, Plaintiff has not

yet obtained new counsel, and, as a corporation, Plaintiff may not proceed pro se in

these proceedings. Accordingly, the Court DENIES without prejudice the

motion [# 113].

                                          Signed: July 7, 2014




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